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April 6, 2021

VIA CM/ECF

Hon. Alison J. Nathan
U.S. District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:      Red Tree Investments, LLC v. Petróleos de Venezuela, S.A. et al.,
                Nos. 19 Civ. 2519 and 19 Civ. 2523 (S.D.N.Y.): Letter Motion for Conference

Dear Judge Nathan:

        We represent Red Tree. We respectfully write to update the Court on the status of
Defendants’ Rule 56(d) motions. As we reported in a March 18, 2021 letter, these motions have
been incorrectly marked “terminated.” Thus, they have not been ruled on although they were
fully briefed and submitted for decision over a year ago. No. 19 Civ. 2519, Dkt. 94; No. 19 Civ.
2523, Dkt. 95.

       Red Tree has communicated with the Clerk of Court to understand what caused that error
and how it can be fixed. The Clerk of Court has informed us that those motions were marked
“terminated” by direction of chambers on September 29, 2020. On that day, Red Tree had
informed the Court that it had mooted Defendants’ motions by making certain document
productions. No. 19 Civ. 2519, Dkt. 84; No. 19 Civ. 2523, Dkt. 85. However, Defendants
responded in October 2020 and argued that the motions were not moot because Defendants were
purportedly entitled to additional third-party discovery. See No. 19 Civ. 2519, Dkt. 86; No. 19
Civ. 2523, Dkt. 87. Red Tree opposed most of that additional discovery in letter briefing filed in
October 2020. See No. 19 Civ. 2519, Dkt. 87; No. 19 Civ. 2523, Dkt. 88.

       The direction to mark the motions “terminated” after Red Tree’s September 29 letter
appears to be a clerical mistake given that the Court directed Defendants to respond to that letter.
No. 19 Civ. 2519, Dkt. 85; No. 19 Civ. 2523, Dkt. 86. While Red Tree has followed up with the
Court on several occasions since the letter briefing in September and October 2020, see No. 19
Civ. 2519, Dkts. 87, 89, 91, 94; No. 19 Civ. 2523, Dkts. 88, 90, 92, 95, apparently no action has
been taken because the motions mistakenly remain marked “terminated.” For the Court’s
convenience, a timeline of relevant events is attached to this letter as Exhibit A. The Clerk of
Court has informed us that it is unable to remove the “terminated” notation without direction
from chambers, and that it has reached out to chambers to address this issue. So, pursuant to the
Clerk, all that is needed is a simple communication from chambers to the Clerk’s office. We
respectfully request that occur.
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       Red Tree is being substantially prejudiced by the situation. Because Defendants have
argued that their Rule 56(d) discovery is necessary to respond to Red Tree’s summary judgment
motions, no response has been filed to the summary judgment motions – even though they have
been pending in this Court since March 2019 (and, before then, in state court). See No. 19 Civ.
2519, Dkt. 1; No. 19 Civ. 2523, Dkt. 1. This Court lifted a stay of this case over a year ago in
January 2020. No. 19 Civ. 2519, Dkt. 57; No. 19 Civ. 2523, Dkt. 58. Defendants should not
enjoy what amounts to another indefinite stay of this case contrary to the Court’s order simply
because of an administrative error.

        As Red Tree’s March 18 letter describes, the prejudice from that error is mounting
because numerous other PDVSA creditors are proceeding towards judgment or execution while
this case remains paused. 1 No. 19 Civ. 2519, Dkt. 94, at 1-2; No. 19 Civ. 2523, Dkt. 95, at 1-2.
In particular, the District of Delaware is proceeding towards a judicial sale of PDVSA’s indirect
interests in CITGO, Defendants’ primary asset in the United States. See Crystallex Int’l Corp. v.
Bolivarian Republic of Venezuela, No. 17 Misc. 151, Dkt. 255 (D. Del. Mar. 16, 2021) (denying
stay of sales process). For this case to remain in effect stayed while those events unfold
undermines Red Tree’s “interest in proceeding expeditiously with this litigation” – an interest
that, as this Court recognized, only “grow[s] as the litigation is further delayed.” No. 19 Civ.
2219, Dkt. 57 at 5; No. 19 Civ. 2523, Dkt. 58 at 5.

        Because we understand from the Clerk that action from the Court is necessary to fix this
error, we respectfully request a conference at the Court’s earliest convenience to address it. We
thank the Court for its attention and consideration.



                                                       Respectfully submitted,

                                                       /s/ Steven F. Molo
                                                       Steven F. Molo


CC: All counsel of record via CM/ECF




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  Dresser-Rand Co. v. Petroleos de Venezuela, S.A., No. 19 Civ. 2689, Dkt. 59 (S.D.N.Y. Feb. 11, 2020)
(judgment against PDVSA); Casa Express Corp. v. Bolivarian Republic of Venezuela, No. 18 Civ. 11940,
Dkt. 77 (S.D.N.Y. Oct. 16, 2020) (judgment against the Republic); Contrarian Cap. Mgmt., LLC v.
Bolivarian Republic of Venezuela, No. 19 Civ. 11018, Dkt. 81 (S.D.N.Y. Oct. 16, 2020) (same); Pharo
Gaia Fund Ltd. et al v. Bolivarian Republic of Venezuela, No. 19 Civ. 3123, Dkt. 62 (S.D.N.Y. Oct. 16,
2020) (same); Tenaris S.A. v. Bolivarian Republic of Venezuela, No. 18 Civ. 1371, 2020 WL 3265476, at
*4 (D.D.C. June 17, 2020) (same); OI European Group B.V. v. Bolivarian Republic of Venezuela, No. 19
Misc. 290, Dkt. 49 (D. Del. Feb. 19, 2021) (seeking attachment of PDVSA assets on alter-ego theory);
Northrop Grumman Ship Sys., Inc. v. Ministry of Defense of the Republic of Venezuela, No. 20 Misc. 257,
Dkt. 26 (D. Del. Feb. 19, 2021) (same).
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                             Exhibit A: Timeline of Events

        Date                              Event                            Relevant Docket
                                                                                Entries
February 15, 2019    Red Tree commences these actions through           19 Civ. 2519, Dkt. 1;
                     motions for summary judgment in lieu of            19 Civ. 2523, Dkt. 1.
                     complaint filed in New York Supreme Court.

March 21, 2019       Defendants remove the actions to this Court.       19 Civ. 2519, Dkt. 1;
                                                                        19 Civ. 2523, Dkt. 1.
March 27, 2019       Defendants move to stay both actions.              19 Civ. 2519, Dkt. 9;
                                                                        19 Civ. 2523, Dkt. 10.
April 11, 2019       Red Tree refiles the state-court summary-          19 Civ. 2519, Dkt. 24;
                     judgment motions on the federal dockets.           19 Civ. 2523, Dkt. 25.

May 6, 2019          The Court stays the cases for 120 days.            19 Civ. 2519, Dkt. 33;
                                                                        19 Civ. 2523, Dkt. 33.
September 26, 2019   Defendants move for an additional 120-day          19 Civ. 2519, Dkt. 49;
                     stay, or, in the alternative, to take additional   19 Civ. 2523, Dkt. 49.
                     discovery under Federal Rule 56(d) before
                     being required to respond to Red Tree’s
                     summary judgment motions.

January 14, 2020     The Court denies the additional stay           19 Civ. 2519, Dkt. 57;
                     Defendants seek, citing Red Tree’s “interest 19 Civ. 2523, Dkt. 58.
                     in proceeding expeditiously with this
                     litigation” and the “prejudice to [Red Tree],”
                     which has “grown as the litigation [was]
                     further delayed.” No. 19 Civ. 2519, Dkt. 57,
                     at 5. The Court permits Defendants to “more
                     fully brief ” their Rule 56(d) motions for
                     additional discovery.

February 24, 2020    Defendants’ Rule 56(d) motions are fully           19 Civ. 2519, Dkt. 70;
                     briefed and ready for decision.                    19 Civ. 2523, Dkt. 71.

May 26, 2020         Red Tree writes to inform the Court that 90        19 Civ. 2519, Dkt. 71;
                     days have passed since Defendants’ Rule            19 Civ. 2523, Dkt. 72.
                     56(d) motions were fully briefed.
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        Date                             Event                            Relevant Docket
                                                                               Entries
August 17, 2020      Red Tree learns from review of the docket         19 Civ. 2519, Dkt. 74;
                     that both cases are incorrectly marked as         19 Civ. 2523, Dkt. 75.
                     “stayed” in the Court’s CM/ECF system. It
                     informs the Court of the incorrect “stayed”
                     designation and asks the Court to remove the
                     “stayed” designation.

August 21, 2020      The Court orders the “stayed” designation         19 Civ. 2519, Dkt. 75;
                     removed.                                          19 Civ. 2523, Dkt. 76.

August 24, 2020      Red Tree informs the Court that 180 days          19 Civ. 2519, Dkt. 76;
                     have passed since Defendants’ Rule 56(d)          19 Civ. 2523, Dkt. 77.
                     motions were fully briefed.

September 29, 2020   Red Tree files a letter informing the Court       19 Civ. 2519, Dkt. 84;
                     that, in the interest of advancing the case, it   19 Civ. 2523, Dkt. 85.
                     has voluntarily produced all documents
                     which Defendants sought in their Rule 56(d)
                     motions. As a result, Red Tree argues, the
                     Rule 56(d) motions are moot, and
                     Defendants should be required to respond to
                     Red Tree’s summary-judgment motions.

September 30, 2020   The Court orders Defendants to respond to         19 Civ. 2519, Dkt. 85;
                     Red Tree’s September 29 letter.                   19 Civ. 2523, Dkt. 86.

October 5, 2020      Defendants respond to Red Tree’s September 19 Civ. 2519, Dkt. 86;
                     29 letter and argue that they need more third- 19 Civ. 2523, Dkt. 87.
                     party discovery before they can respond to
                     Red Tree’s summary-judgment motions.

November 23, 2020    Red Tree writes the Court to offer to attend a    19 Civ. 2519, Dkt. 89;
                     status conference on the Rule 56(d) motions,      19 Civ. 2523, Dkt. 90.
                     noting that those motions have been fully
                     briefed for nine months.

January 25, 2021     Red Tree moves to intervene in Dresser-           19 Civ. 2519, Dkt. 91;
                     Rand Co. v. Petróleos de Venezuela, S.A., et      19 Civ. 2523, Dkt. 92.
                     al., No. 19 Civ. 2689, a parallel case against
                     PDVSA before Judge Stanton, for the
                     purpose of accessing third-party discovery
                     taken in that case which mirrors one of
                     Defendants’ additional discovery requests in
                     these cases. Red Tree writes this Court to

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        Date                           Event                          Relevant Docket
                                                                          Entries
                    inform the court of its motion in Dresser-
                    Rand.

January 27, 2021    Defendants inform the Court that they do not   19 Civ. 2519, Dkt. 92;
                    oppose Red Tree’s motion in Dresser-Rand.      19 Civ. 2523, Dkt. 93.

March 18, 2021      Red Tree learns from the Clerk of Court that   19 Civ. 2519, Dkt. 94;
                    Defendants’ Rule 56(d) motions were            19 Civ. 2523, Dkt. 95.
                    incorrectly marked as “terminated” in the
                    Court’s internal records. At the Clerk’s
                    instruction, Red Tree leaves a message on
                    the Court’s chambers voicemail informing
                    the Court of the erroneous “terminated”
                    designation. Red Tree also writes to inform
                    the Court of this error, requesting that the
                    Court remove the erroneous “terminated”
                    designation and resolve Defendants’ Rule
                    56(d) motions as soon as practicable.

March 25, 2021 –    Red Tree contacts the Clerk of Court to
April 6, 2021       inquire about the status of the motions. The
                    Clerk confirms that the motions are still
                    marked “terminated.” The Clerk also
                    informs Red Tree that the motions were
                    marked “terminated” on September 29, 2020
                    at the direction of chambers.




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